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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION
                                     LEXINGTON

 CRIMINAL ACTION NO. 5:23-CR-00109-DCR

 UNITED STATES OF AMERICA                                                              PLAINTIFF


 V.           MOTION FOR ISSUANCE OF AN ARREST WARRANT AND
                     REVOCATION OF ORDER OF RELEASE




 TANNER M. ABBOTT                                                                    DEFENDANT

                                            * * * * *

        The United States submits the following motion pursuant to 18 U.S.C. § 3148 for an

 arrest warrant to be issued for the Defendant and a hearing be set for the revocation of the

 Defendant’s order of release because, as set forth more fully below, the prosecution team has

 recently learned the Defendant violated the terms and conditions of his pretrial release on

 numerous occasions.

        On October 5, 2023, the Defendant was indicted on five counts of deprivation of rights

 under color of law offenses and two related counts of obstruction and conspiracy to commit

 obstruction. All seven charges are based on conduct alleged to have occurred while he was a

 deputy sheriff with the Boyle County Sheriff’s Office (“BCSO”). [DE 1: Indictment.] On

 October 17, 2023, the Court released the defendant on a set of bond conditions that included the

 following: “The defendant must: avoid all contact, directly or indirectly, with any person who is

 or may be a victim or witness in the investigation or prosecution, including: but not limited to,

 any and all co-defendants/co-conspirators except, in the presence of counsel.” [DE 8: Order
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 Setting Conditions of Release, at Page ID# 26.] The Court also included a special condition

 specifically forbidding contact with any BCSO employees: “Other than requests for official law

 enforcement assistance or in the presence of counsel, the defendant must not have contact with

 employees of the Boyle County Sheriff’s Department. With respect to any close friends of the

 defendant who is/are employees of said agency, the defendant may have contact with such

 friends that are identified in advance by defense counsel to the U.S. Probation Office and United

 States Attorney, but may not discuss the case in any way whatsoever, except in the presence of

 defense counsel. Also, the defendant may not have any contact concerning the charges against

 him with the Boyle County Sheriff’s Department or its employees, except in the presence of

 counsel.” Id. at Page ID# 27. 1 After the Grand Jury returned a Superseding Indictment, the

 Defendant was allowed to remain on bond, on the same conditions of release. [DE 33: Minute

 Entry from Arraignment on Superseding Indictment.]

          This week, members of the prosecution team were made aware that the Defendant

 contacted at least two potential witnesses. First, on Tuesday, February 13, the United States was

 made aware that, on January 22, 2024, the Defendant used his wife’s Facebook account to contact

 Detective David Lewis of the Nicholasville Police Department, formerly of the Danville Police

 Department. The government’s first discovery production made it abundantly clear that Detective

 Lewis is a potential witness. Detective Lewis arrived on the scene of the events alleged in Count

 7 of the Superseding Indictment shortly after they occurred and activated his body-worn camera,

 which captured both the scene and various comments from the Defendant about what had

 happened during the traffic stop in question. The content of the Facebook message, a screenshot


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  To date, the United States has not received notice of any such “close friends” that the Defendant requested to have
 contact with, so the Court’s ban on contact outside of the presence of counsel with BCSO employees remained
 absolute.
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 of which is attached to this filing, was as follows: “Hey this is Tanner, just wanted to let you know

 a PI of mine might reach out to you about me. Nothing to be alarmed about or anything, he’s

 speaking to everyone that worked with me. He’s already talked to Ray Ray, TJ, Kody, and others.”

 Ex. 1- Facebook Message from Jordan Abbott’s Account to Detective David Lewis.

         At least one of those individuals named in the Defendant’s communication to Detective

 Lewis, TJ Wren, is currently a deputy sheriff with the BCSO. Given the Defendant’s mention of

 a deputy sheriff in the BCSO and the Court’s specific condition that the Defendant is forbidden

 from having contact with employees of that office, on the day of this filing, February 16, the case

 agent reached out to BCSO’s Chief Deputy to confirm that Mr. Wren was still employed there.

 The case agent also informed the Chief Deputy of the government’s concerns about the Defendant

 contacting potential witnesses and BCSO employees. The Chief Deputy responded that he was

 aware that the Defendant had texted Deputy Wren on several occasions, and provided screenshots

 of the text message forwarded from Deputy Wren which began on November 19, 2023. Ex. 2 –

 Texts from Defendant to Deputy TJ Wren.

        These text messages to Deputy Wren are far more damning than the content of the

 communication with Detective Lewis. On November 19, the Defendant texted Deputy Wren that

 the defense team hired a private investigator “to fine [sic] the holes in all these lies being told.”

 Id. The Defendant went on to tell Deputy Wren that his “mind [had been] blown by all the lies

 and from people that was supposed to have my back. I’m just hoping the truth comes out in the

 long run.” Id. On December 26, the Defendant texted Deputy Wren suggesting that he had

 recently had in-person contact with Deputy Wren, another serious violation of the Court’s

 conditions of release: “If Yall [sic] need anything else, just let me know! Good seeing ya!

 [emoji].” Id. On December 28, the Defendant texted Deputy Wren and asked for a copy of his

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 report, presumably an official report he had written while at BCSO that could be related to the

 charges against him. Id. On January 9, Deputy Wren referenced a text he had received from the

 Defendant “on [his] other phone,” suggesting that the Defendant was communicating with Deputy

 Wren on two different phones (as of now, the United States has only been made aware of texts

 from one of those phones). In response, the Defendant texted Deputy Wren a video that appears

 to be a copy of a cellphone recording that captures some of the conduct alleged in Count 2 of the

 Indictment. Both the United States and the defense were likely to introduce this video into

 evidence, meaning the Defendant texted evidence obtained from the discovery process in a federal

 investigation and prosecution less than two months before his trial to a potential witness outside

 the presence of counsel. (This also constitutes a breach of the protective agreement that the parties

 entered into regarding discovery provided to the defense team, although the United States assumes

 no wrongdoing on the part of the defense counsel and that the Defendant took these actions without

 the knowledge or approval of counsel.) Prior to sending the video, the Defendant included the

 commentary that “I recorded it in my phone to protect myself and I guess Braydon [another

 potential government witness known to Deputy Wren] didn’t know that when he lied to the Feds.”

 Id. On January 10, the Defendant texted again about the report, asking if it “ever [got] done.” Id.

 Finally, on February 6, the Defendant texted Deputy Wren asking for his address “in case we need

 to subpoena you for the trial.” Id. In between these case-related texts are numerous texts of a

 personal nature that nevertheless violate the Court’s conditions of release to avoid all contact with

 BCSO employees; all told, between November 19, 2023, and February 6, 2024, the Defendant

 appears to have contacted Deputy Wren by text 19 times on this phone, texted him on another

 phone an unknown number of times, and apparently saw him in-person at least one time. Some of

 the text exchanges are initiated by Deputy Wren, but at no point does the Defendant indicate he is

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 not allowed to speak with Deputy Wren or say anything at all indicating respect for the Court’s

 conditions of release.

        The texts to Deputy Wren violate two conditions that the Court plainly established: that he

 have no contact with potential witnesses and that he have no contact with BCSO employees. They

 also upon first blush give rise to concerns of witness tampering; the Defendant is asserting his

 defense that the case against him is “all these lies,” says that another potential government witness

 known to Deputy Wren “lied to the Feds,” and finally sends him copy of evidence that is likely to

 be introduced at trial, along with his commentary. At the very least, they certainly represent

 contempt of this Court’s authority and order setting the conditions of release.

        While the content of the message to Detective Lewis appears more innocuous (relatively

 speaking), it too is a clear violation of the Defendant’s conditions of release. The fact that the

 Defendant used his wife’s Facebook account to contact Detective Lewis also suggests an attempt

 to avoid detection (although the condition of release clearly forbids indirect contact as well). The

 communication to Detective Lewis is clearly related to the upcoming trial and indicates that the

 private investigator will be contacting the witness related to the Defendant’s on-duty conduct, as

 well as indicating to the witness that other witnesses have already spoken to the investigator,

 suggesting he should do so as well. It is the United States’ understanding that Detective Lewis

 was concerned enough about feeling pressured to speak to the private investigator that he obtained

 outside counsel as a result, although in fairness the United States is not certain that the Defendant’s

 communication was the motivation for doing so.

        Finally, while this level of disrespect for the Court’s authority would always elicit concern,

 this concern is heightened due to the Defendant’s pending charge of conspiring with a fellow law

 enforcement officer to obstruct further investigation into his on-duty conduct. The fact that the

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 very first investigative step the United States took after learning of Detective Lewis’s message

 from the Defendant resulted in the discovery of at least 19 other forbidden communications from

 the Defendant -- many of which appear to be designed to influence a potential witness -- raises

 serious concerns regarding the number and contents of any other such messages the Defendant has

 sent to potential witnesses or BCSO employees of which the United States has not yet been made

 aware. 2

         Based on the foregoing, the United States requests pursuant to 18 U.S.C. § 3148 that a

 warrant be issued for the Defendant’s arrest and that the matter be scheduled for a hearing to

 determine whether to revoke the Defendant’s order of release.

                                                      Respectfully submitted,

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                                                      UNITED STATES ATTORNEY

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  The United States notes this is not the first time it has been concerned about the Defendant’s compliance with the
 conditions of release. On October 19, the Defendant tested positive for marijuana metabolite. Because there was a
 possibly innocent explanation and it could have resulted from use of a legal product prior to his arraignment, the
 United States gave the Defendant the benefit of the doubt and did not raise the issue with the Court.
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                                   CERTIFICATE OF SERVICE

        On February 16, 2024, I electronically filed this document through the ECF system,

 which will send the notice of electronic filing to counsel of record.



                                               s/Zach Dembo
                                               Assistant United States Attorney




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